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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON
                                  PORTLAND DIVISION

UNITED STATES OF AMERICA                           Case No. 3:12-cv-02265-SI

                Plaintiff,

      vs.                                          AMICUS MENTAL HEALTH ALLIANCE’S
                                                   AUGUST 2024 FAIRNESS HEARING
CITY OF PORTLAND,                                  BRIEF

                Defendant.

                                        INTRODUCTION

       Amicus Curiae Mental Health Alliance (“MHA”) provides this brief in response to the

Parties’ Joint Motion for Amended Settlement Agreement. Dkt. 431. After much toil and

discussion with the Parties about the proposed code change and amendments, unfortunately the

MHA does not believe that the proposed change is fair, adequate, and reasonable. The Parties’

proposed change neither reflects the will of the voters nor the best interests of persons with

mental illness hoping and praying for safety in this community. MHA humbly requests that the

Court not enter this amended settlement agreement unless revisions are made.

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                                               DISCUSSION

A.      Update on PCCEP

        As the Court may recall, members of MHA have participated in or attended Portland

Committee on Community-Engaged Policing (“PCCEP”) meetings since its inception. While

MHA has been critical of PCCEP’s over-all governance, retention of volunteers, and community

engagement, MHA is pleased to report that PCCEP has continued to flourish in the time since we

last reported to the Court. This is a credit to all of the hard work and diligence of the PCCEP

volunteers over the years and in the present.

B.      Discussion on Paragraph 195 and the “Oversight System”

        MHA’s points of discussion have been previously expressed to the Court. For this record,

we will repeat some of the essential backstory and argument, as the fundamental issues have not

been addressed since last raised.

     1. Background

        Portlanders overwhelmingly 1 supported a voter-led measure, Measure 26-217, to alter

and improve the means by which the public holds police accountable. The status quo did not

work. The measure’s plain text put to the voters the following components:

                 • The new oversight board would “independently investigate
                   Portland Police Bureau sworn employees and supervisors thereof
                   promptly, fairly, and impartially, to impose discipline as
                   determined appropriate by the Board, and to make
                   recommendations regarding police practices, policies and
                   directives to the Portland Police Bureau and with a primary focus
                   on community concerns.” Portland City Charter Ch. 2, Art. 10 §
                   2-1001.

                 • The board would “include[] representation from diverse
                   communities including those from diverse communities and with
                   diverse lived experiences, particularly those who have

1
 Jonathan Levinson, Portlanders favor changes to police oversight, Oregon Public Broadcasting (Nov. 3, 2020),
available at https://www.opb.org/article/2020/11/04/portlanders-favor-changes-to-police-oversight/.

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                         experienced systemic racism and those who have experienced
                         mental illness, addiction, or alcoholism.” Id. at § 2-1002.

                        • The board would not permit “[p]eople currently employed by a
                          law enforcement agency[,] their immediate family members[,]
                          nor formerly employed by a law enforcement agency” to be
                          members of the board. Id. at § 2-1003.

                        • The budget would be “proportional to be no less than 5 percent
                          of the Police Bureau’s Annual Operational Budget.” Id. at § 2-
                          1004.

                        • “The Mayor, City Council, Auditor, and City departments,
                          bureaus and other administrative agencies shall not interfere in
                          the exercise of the Board’s independent judgment.” Id. at § 2-
                          1006.

                        • The new accountability board would be able to “investigate
                          complaints including the power to subpoena and compel
                          documents, and to issue disciplinary action up to and including
                          termination for all sworn members and the supervisors thereof
                          within the Portland Police Bureau.” Id. at § 2-1007(a).

                        • The board would also be able to propose policy
                          recommendations to the Bureau which it could reject or accept, §
                          2-1007(b); and compel truthful testimony from Bureau members.
                          Id. at § 2-1007(d).

            Eighty-two percent of voters approved this language for Portland’s Charter. 2

       2. Formation of the Portland Accountability Commission

            The PAC worked diligently and dedicatedly to craft the proposed charter amendments,

meeting over 120 times and holding public meetings over the course of 20 months. PAC

completed its work on August 31, 2023. The City received the PAC’s proposal on September 21,

2023. At the September 21, 2023, hearing, Council members expressed a belief that the public

did not vote for the exact language described in Measure 26-217. In particular, council members

announced their desire to minimize the budget of the proposed oversight board and to allow


2
    Id., supra fn. 1.

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police officers onto the new board—both of which would violate the City Charter. The City also

expressed a fixation on mandating “ride alongs” for future board members. The MHA and

AMAC believe insisting on this would likely put members of the board, drawn from a pool of

person whom have “experienced systemic racism and those who have experienced mental

illness, addiction, or alcoholism,” into an uncomfortable and potentially traumatic positions

alone with a police officer in a cruiser.

           The City then held a hearing on November 15, 2023, to discuss the PAC’s proposal. The

City presented its own watered-down version of the PAC proposal for the new Community

Board for Police Accountability (“CBPA”). The City’s proposed version undermined the voter’s

mandate and PAC’s recommendations for the CBPA in a number of ways by:

      •    Reducing the proposed size of the oversight board. 35B.010(A)(1).

      •    Moving public investigation hearings to closed-door executive sessions. 35D.060(D)(1).

      •    Restricting membership of persons with “bias for or against law enforcement” from
           becoming a board member. 35B.010(D)(6)(c), see also ¶ 131(b)(vi).

      •    Placing three police representatives, including a representative chosen by PPA, on the
           committee responsible for nominating board members. 35B.010(B)(2)(c)-(e).

           The City adopted its version of the PAC proposal and directed the City Attorneys Office

to “seek required approvals from the United States Department of Justice and the United States

District Court, and comply with any mandatory collective bargaining obligations” within 60

days,3 which brings us to the present Fairness Hearing.

      3. We Must Create an Inclusive and Effective Oversight System

           MHA takes issue with all of the above listed items that have been changed from the

PAC’s recommendation but will focus on the latter two.



3
    https://www.portland.gov/council/documents/resolution/adopted/37637

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       Simply, allowing the Portland Police Association and the Police Bureau to have a veto

power on the selection committee will doom this project. And MHA does not write that lightly.

Indeed, MHA members could be prevented from joining the oversight committee altogether

based on the inclusion of the PPA’s potential veto-power, and given the code-change's loose

language on "bias against law enforcement." Nowhere in the settlement agreement is there a

comparable provision regarding bias or the police bureau getting a voting seat on a community-

led committee—as distinguished from the current Police Review Board (“PRB”), which is a

police-led body, and that the community clearly voted to repudiate and remove from Portland’s

accountability system.

       In past versions of the settlement agreement, sworn officers were only given non-voting

seats on the since-failed Community Oversight Advisory Board (“COAB”). Previously ¶

141(a)(iv). On PCCEP, there has been no seat for police bureau members at all. Giving the

police bureau voting seats on a community-led board would be a significant deviation from prior

attempts to avoid a corrupting influence from the very agency this lawsuit seeks to correct.

Allowing the police bureau an opportunity to influence outcomes undermines the very purpose

of the voter-approved charter change and dissipates trust in the outcomes of future investigations

led by this system.

       The “bias against police” language is also a deviation from past settlement agreement

provisions for community-led committees. The COAB, for instance, required that members

“shall not have an actual or perceived conflict of interest with the City of Portland.” Former ¶

141(b). The PCCEP amendments had similar language. ¶ 143, Dkt. 340-1. Again, the “bias”

language has only previously appeared in sections governing the PRB, which the voters have

rejected.



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       This proposed version of the Oversight System would not pass muster on MHA’s

simplest test: Would a person with mental illness feel comfortable participating in this? Would a

person with mental illness feel comfortable doing a mandatory ride-along with police officers, as

is required under ¶ 131(a)(iv)? Would the PPA perceive refusal to do the ride-along because of

past traumas as a disqualifying “bias” against the police? Failing to address not only the voters’

concerns but also the very animating principle of why this lawsuit was brought by the Plaintiff—

to correct and end the City’s pattern and practice of unlawful uses of force against persons

experiencing mental illness—imperils the progress made in this suit.

                                         CONCLUSION

       MHA respectfully requests that the Court not grant the Parties’ proposed settlement

agreement amendments. As always, MHA is grateful to the Court for granting us time to be

heard on this important matter.

       DATED: August 26, 2024.

                                              /s/ Juan C. Chavez
                                              Juan C. Chavez, OSB 136428
                                              Of Counsels to Amicus Mental Health Alliance




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